 1   CYNTHIA L. JOHNSON, (Bar No. 014492)
     LAW OFFICE OF CYNTHIA L. JOHNSON
 2   11640 East Caron Street
     Scottsdale, AZ 85259
 3   Phone: (480) 381-7929
 4
     Email: cynthia@jsk-law.com
 5
     Attorney for Secured Creditor
 6
                          IN THE UNITED STATES BANKRUPTCY COURT
 7
 8                               FOR THE DISTRICT OF ARIZONA
 9   In Re:                                            Chapter 13
10
     JOHN WILLIAM HALL, IV                             Case No. 2:18-bk-14380-PS
11
12                                                     NOTICE OF FILING MOTION FOR
                                 Debtor.               RELIEF FROM THE AUTOMATIC
13                                                     STAY
14
                                                       (Re: 3018 W. Kerry Lane, Phoenix, AZ
15                                                     85027)
16
17            NOTICE IS HEREBY GIVEN that on the 3rd day of January 2019, Rezamp Lending,

18   LLC (“Rezamp”), by and through undersigned counsel, filed its Motion for Relief From
19
     The Automatic Stay, the details of which are as follows:
20
              Movant asserts that pursuant to 11 U.S.C. §362(d)(1) cause exists which is the
21
22   subject of the Motion for Relief from Stay. Therefore, Movant is entitled to an Order
23   Lifting Stay with respect to such property.
24
              FURTHER NOTICE IS HEREBY GIVEN that pursuant to Local Bankruptcy Rule
25
26   4001 if no objection is filed with the court and a copy served on Movant whose

27   address is:
28
                                                   1
                  Rezamp Lending, LLC
 1
                  c/o Cynthia L. Johnson, Esq.
 2                Law Office of Cynthia L. Johnson
                  11640 E. Caron Street
 3                Scottsdale, AZ 85259
                  cynthia@jsk-law.com
 4
 5   WITHIN 14 DAYS of service of the motion, the motion for relief from the automatic
 6
     stay may be granted without further hearing.
 7
 8         RESPECTFULLY SUBMITTED this 3rd day of January, 2019.

 9
                                       LAW OFFICE OF CYNTHIA L. JOHNSON
10
                                       By:/s/Cynthia L. Johnson
11
                                       Cynthia L. Johnson
12                                     Attorney for Secured Creditor
13   COPY of the foregoing electronically filed
14   this 3rd day of January, 2019 with:

15   Clerk of the U.S. Bankruptcy Court
16   District of Arizona
     230 N. First Avenue
17   Suite 101
     Phoenix, AZ 85003-1727
18
19   With copies mailed or served
     via (email or fax* or electronic notification** if so marked)
20
21   **Mr. Edward J. Maney, Trustee
     101 N. 1st Avenue
22   Suite 1775
     Phoenix, AZ 85003
23
     John William Hall, IV
24   P.O. Box 54802
     Phoenix, AZ 85078
25
     Debtor
26
     By: /s/Cynthia Johnson
27
28
                                                  2
